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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

BARBARA TULLY, KATHARINE BLACK,                    )
MARC BLACK, SHELLY BROWN,                          )
DAVID CARTER, REBECCA GAINES,                      )
JANICE JOHNSON, ELIZABETH KMIECIAK,                )
CHAQUITTA MCCREARY,                                )
KATHERINE PAOLACCI, DAVID SLIVKA,                  )
DOMINIC TUMMINELLO, and                            )
INDIANA VOTE BY MAIL, INC., individually,          )
 and on behalf of those similarly situated,        )
                                                   )
                        Plaintiffs,                )
                                                   )
                -vs-                               )   Case No. 1:20-cv-01271-JPH-DLP
                                                   )
PAUL OKESON, S. ANTHONY LONG,                      )
SUZANNAH WILSON OVERHOLT, and                      )
ZACHARY E. KLUTZ, in their official                )
capacity as members of the Indiana                 )
Election Commission, and                           )
CONNIE LAWSON, in her official                     )
capacity as the Indiana Secretary of State,        )
                                                   )
                        Defendants.                )

                          MOTION FOR PRELIMINARY INJUNCTION

        Come Now Plaintiffs and the putative class, by counsel, and pursuant to Rule 65 of the

Federal Rules of Civil Procedure, respectfully request that this Court preliminarily enjoin Defendants

to (1) extend the privilege of voting by mail to the individual Plaintiffs, putative class members, and all

Indiana voters in the November 3, 2020 general election; and (2) advise all county clerks in Indiana to

permit no-excuse absentee voting by mail in the November 3, 2020 general election. In support of this

Motion, Plaintiffs state as follows:

        1.      Plaintiffs have brought this action for declaratory and injunctive relief against Indiana

election officials who have failed to take necessary actions to protect Indiana voters against having to

make a choice between their personal safety and exercising their right to vote on November 3, 2020.
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       2.      The individual Plaintiffs seek to vote safely in the November 2020 general election by

casting an absentee ballot, by mail, in precisely the same manner in which they were allowed to vote

in the June 2020 primary election. The Indiana law that allows certain voters to vote by mail, but

denies the same privilege to Plaintiffs, arbitrarily discriminates between categories of qualified voters;

denies Plaintiffs any reasonable alternative means of voting that does not endanger their own or

others' health, safety, and lives; and violates the Equal Protection clause of the Fourteenth

Amendment to the United States Constitution, the Twenty-Sixth Amendment to the United States

Constitution, and the Equal Privileges and Immunities Clause of the Indiana Constitution.

       3.      Plaintiffs are likely to prevail on the merits of their claim that the challenged

statute violates the United States Constitution.

       4.      Absent a preliminary injunction, the plaintiffs will suffer irreparable harm for which

there is no adequate remedy at law.

       5.      The balance of harms and the public interest weigh in favor of the issuance of a

preliminary injunction.

       6.      The injunction should be issued without bond.

       7.      The plaintiffs attach to this Motion the following exhibits, which are incorporated

herein by reference:

               - Exh. 1:       Declaration of Barbara Tully (Filing No. 13-1)

               - Exh. 2:       Declaration of David Carter (Filing No. 13-2)

               - Exh. 3:       Declaration of Elizabeth Kmieciak (Filing No. 13-3)

               - Exh. 4:       Declaration of Janice Johnson (Filing No. 13-4)

               - Exh. 5:       Declaration of Marc Black (Filing No. 13-5)

               - Exh. 6:       Declaration of Katharine Black (Filing No. 13-6)

               - Exh. 7:       Declaration of Shelly Brown (Filing No. 13-7)

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               - Exh. 8:       Declaration of Chaquitta McCreary1 (Filing No. 13-8)

               - Exh. 9:       Declaration of Dominic Tumminello (Filing No. 13-9)

               - Exh. 10:      Declaration of Rebecca Gaines (Filing No. 13-10)

               - Exh. 11:      Declaration of Katherine Paolacci (Filing No. 13-11)

               - Exh. 12:      Declaration of David Slivka (Filing No. 13-12)

               - Exh. 13:      Declaration of Jeffrey G. Jones, M.D., M.P.H. (Filing No. 13-13)

               - Exh. 14:      Declaration of Gregory Shufeldt, Ph.D. (Filing No. 13-14)

       8.      Plaintiffs anticipate filing their Motion for Class Certification. In the event that a class

is certified, the preliminary injunction should extend to the members of the class as well.

       9.      Contemporaneously with this Motion, Plaintiffs file their memorandum of law, which

is also incorporated herein by reference.

       WHEREFORE, Plaintiffs respectfully request that this Court enter the aforementioned

preliminary injunction, without bond, and grant all other proper relief.

                                                         Respectfully submitted,


                                                         s/ William R. Groth
                                                         William R. Groth
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                                                         s/ Mark W. Sniderman
                                                         Mark W. Sniderman
                                                         FINDLING PARK CONYERS


1 Plaintiffs move to correct the spelling of Ms. McCreary’s surname in the caption, where it was
incorrectly spelled “McCleary.”



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